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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA                MAR 2 0 2014       \k
                               Richmond Division
                                                                    CLERK, U.S. DiSTRiCT COURT
                                                                          RICHMOND. VA
 UNITED STATES OF AMERICA

V.
                                          Criminal No.     3:99CR201
                                          Civil Action No. 3:14CV160
VALLIA CAROLYN FRIEND


                              MEMORANDUM OPINION

         By Memorandum Opinion and Order entered on June 22, 2005,
the Court denied a motion under 28 U.S.C. § 2255 filed by Vallia
Carolyn Friend.          (ECF Nos. 627-28.)       On March 10, 2014, the
Court     received    a successive,     unauthorized     28    U.S.C.    § 2255
motion from Friend ("§ 2255 Motion,'' ECF No. 708).

        The Antiterrorism and Effective Death Penalty Act of 1996
restricted the        jurisdiction of     the   district      courts    to hear
second or successive applications for federal habeas corpus
relief by prisoners attacking the validity of their convictions
and sentences by establishing a "gatekeeping mechanism."                  Felker
v- T"rpin, 518 U.S. 651, 657 (1996)             (internal quotation marks
omitted).        Specifically,     «[b]efore    a second       or   successive
application permitted by this section is filed in the district
court,    the applicant shall move in the appropriate court of
appeals for an order authorizing the district court to consider
the application."       28 U.S.C. § 2244(b)(3)(A).

       Because the United States Court of Appeals for the Fourth
Circuit has not authorized this Court to entertain Friend's
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 successive § 2255 Motion, the § 2255 Motion (ECF No. 708) will
 be dismissed for want of jurisdiction.

         An appeal may not be taken from the final order in a § 2255
 proceeding unless a judge issues a certificate of appealability
 ("COA").      28 U.S.C. § 2253(c)(1)(B).            A COA will not issue
 unless a prisoner makes "a substantial showing of the denial of
 a constitutional         right."     28   U.S.C.     § 2253(c)(2).       This
 requirement is satisfied only when "reasonable jurists could
 debate whether (or, for that matter, agree that) the petition
 should have been resolved in a different manner or that the
 issues presented were 'adequate to deserve encouragement to
proceed further.'"        Slack v. McDaniel. 529 U.S. 473, 484 (2000)
 (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).
Friend fails to satisfy this standard.              Accordingly, a COA will
be denied.


        The Clerk is directed to send a copy of this Memorandum
Opinion to Friend and counsel for the United States.
        It is so ORDERED.




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                                    Robert E. Payne
                                                              /if*
                                    Senior United States District Judge
Richmond, Virginia
Date:   March £f_, 2014
